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 5 Telephone: (949) 333-7777
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 6
   Attorneys for Chapter 11 Trustee
 7 RICHARD A. MARSHACK

 8                         UNITED STATES BANKRUPTCY COURT
 9             CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
10

11 In re                                         Case No: 8-23-bk-10571-SC
12                                               Chapter 11
     THE LITIGATION PRACTICE GROUP P.C.,
13                                               NOTICE OF MOTION AND MOTION FOR
                                                 ORDER AUTHORIZING PRODUCTION
14              Debtor.                          OF DOCUMENTS FROM U.S. BANK
                                                 NATIONAL ASSOCIATION fka UNION
15                                               BANK PURSUANT TO FEDERAL RULE
                                                 OF BANKRUPTCY PROCEDURE 2004;
16                                               MEMORANDUM OF POINTS AND
                                                 AUTHORITIES; AND DECLARATION OF
17                                               LAILA MASUD IN SUPPORT
18                                               [NO HEARING REQUIRED]
19                                               Date of Production:
                                                 Date:     September 22, 2023
20                                               Time:     10:00 a.m.
                                                 Location: Marshack Hays LLP
21                                                         870 Roosevelt
                                                           Irvine, CA 92620
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 1 TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY JUDGE,

 2 THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED PARTIES:

 3         Richard A. Marshack, in his capacity as Chapter 11 Trustee (“Trustee”) of the Bankruptcy
 4 Estate (“Estate”) of The Litigation Practice Group P.C. (“Debtor”), respectfully files this motion

 5 requesting that the Court enter an order requiring U.S. Bank National Association fka Union Bank

 6 (“Bank”) to produce documents identified in Exhibit “1” no later than September 22, 2023, or at any

 7 other date as may be agreed upon in writing by Trustee and Bank. The documents are requested

 8 pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure (“FRBP”) and Rule 2004-1 of

 9 the Local Bankruptcy Rules (“LBR”). Counsel for Trustee has met and conferred with Bank as

10 required by LBR 2004-1(a).

11         Bank is to either (i) produce the original documents for inspection and copying at the law
12 offices of Marshack Hays LLP, 870 Roosevelt, Irvine, CA 92620, (ii) mail copies of the documents

13 to Marshack Hays LLP, 870 Roosevelt, Irvine, CA 92620 or (iii) e-mail said documents in pdf

14 format to D. Edward Hays at ehays@marshackhays.com and Laila Masud at

15 lmasud@marshackhays.com. This Motion is based upon the accompanying Memorandum of Points

16 and Authorities, Declaration of Laila Masud and all documents on file in this case.

17

18   DATED: August 22, 2023                   MARSHACK HAYS LLP
19
                                              By: /s/ Laila Masud
20                                               D. EDWARD HAYS
21                                               LAILA MASUD
                                                 Attorneys for Chapter 11 Trustee
22                                               RICHARD A. MARSHACK

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 1                             Memorandum of Points and Authorities
 2 1.      Summary of Argument
 3         Pursuant to FRBP 2004, the Court may order the examination of an entity regarding matters
 4 that relate to acts, conduct, or property or to the liabilities and financial condition of the Debtor, or to

 5 any matter that may affect the administration of the Debtor’s Estate. In this case, the Trustee, his

 6 counsel, and his accountants require the records related to Debtor’s financial accounts in order to

 7 investigate and ascertain the extent/scope of certain avoidance actions. Thus, the Trustee files the

 8 instant motion to obtain the records directly from Bank.

 9 2.      Factual Background
10         On March 20, 2023, The Litigation Practice Group P.C. (“Debtor”) filed a voluntary petition
11 under Chapter 11 of Title 11 of the United States Code, initiating bankruptcy Case No. 8:23-bk-

12 10571-SC in the United States Bankruptcy Court for the Central District of California, Santa Ana

13 Division.

14         On March 30, 2023, as Dk. No. 21, the United States Trustee filed a motion to dismiss or
15 convert the case under 11 U.S.C. § 1112(b) for failure to comply with the U.S. Trustee guidelines

16 and requirements for a chapter 11 case.

17         On April 4, 2023, Debtor filed its schedules and statements. Docket Nos. 32-34, 36; see also
18 Docket Nos. 52-54 (amended schedules and statements).

19         On May 4, 2023, the Court entered an “Order Directing United States Trustee to Appoint
20 Chapter 11 Trustee.” Docket No. 58. Richard A. Marshack was appointed as the Chapter 11 trustee

21 of the Debtor’s estate. Docket Nos. 62-65.

22         On July 7, 2023, as Dk. No. 191, Trustee filed a sale motion in the Bankruptcy seeking to sell
23 substantially all of Debtor’s assets including, leases, equipment, furniture, consumer client accounts,

24 prepayments, legal service agreements, intellectual property, pending licenses, and certain

25 proprietary property, all of which is defined in Section V.A. of the sale motion (“Sale Motion”).

26         By Order of July 22, 2023, the Court authorized Trustee’s sale of the Debtor’s property (Dk.
27 No. 320).

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 1 3.      Grounds for 2004 Examination
 2         Pursuant to FRBP 2004, the Court may order the examination of an entity regarding matters
 3 that relate to acts, conduct, or property or to the liabilities and financial condition of the Debtor, or to

 4 any matter that may affect the administration of the Debtor’s Estate. In this case, the Trustee, his

 5 counsel, and his accountants require the records related to Debtor’s financial accounts in order to

 6 investigate and ascertain the extent/scope of certain avoidance actions. As this Court is aware,

 7 Debtor’s production of documents revealing its prepetition financial affairs, including books and

 8 records, has been deficient to date. Thus, the Trustee files the instant motion to obtain the records

 9 directly from Bank.

10 4.      Argument
11         A.      Scope of Examination of Rule 2004(b) of the FRBP
12         Rule 2004(b) of the FRBP provides that the scope of examination must relate to “acts,
13 conduct, or property or to the liabilities and financial condition of the debtor, or to any matter which

14 may affect the administration or the debtor’s estate, or to the debtor’s right to a discharge.” Through

15 this Motion, the Trustee seeks by examination to obtain information regarding possible concealed

16 assets, unauthorized transfers of Estate property, diversion of income and Estate assets, and potential

17 avoidance actions to avoid, recover and preserve, certain prepetition transfer of assets.

18         By this examination, Trustee seeks to obtain records relating to Debtor’s business, assets,
19 including monthly bank statements, cancelled checks, all documents detailing other debits, and wire

20 transfers. The documents that Trustee seeks are set forth in Exhibit 1 of this motion.

21         B.      Document Production
22         FRBP 2004(e) provides that “If the debtor resides more than 100 miles from the place of
23 examination when required to appear for an examination under this rule, the mileage allowed by law

24 to a witness shall be tendered for any distance more than 100 miles from the debtor’s residence at the

25 date of the filing of the first petition commencing a case under the Code or the residence at the time

26 the debtor is required to appear for the examination, whichever is the lesser.”

27         Trustee does not seek authority to orally examine Bank pursuant to this Motion, and Bank
28 does not need to appear for examination. Instead, Trustee asks that Bank be ordered to produce the

                                                        4
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 1 documents identified in Exhibit 1 on or before September 22, 2023, or at any date agreed to by

 2 Trustee and Bank, at the offices of Marshack Hays LLP, 870 Roosevelt, Irvine, California 92620, or

 3 by either (i) mailing copies of the documents to Marshack Hays LLP, 870 Roosevelt, Irvine,

 4 California 92620 or (ii) e-mailing said documents in pdf format to D. Edward Hays at

 5 ehays@marshackhays.com and/or Laila Masud at lmasud@marshackhays.com. As such, Trustee is

 6 not required to tender a mileage allowance or a witness fee.

 7         C.      Compliance with LBR 2004-1
 8         Local Bankruptcy Rule (“LBR”) 2004-1 provides that:
                  (a) Conference Required. Prior to filing a motion for examination or
 9                for production of documents under FRBP 2004, the moving party must
                  attempt to confer (in person or telephonically) with the entity to be
10                examined, or its counsel, to arrange for a mutually agreeable date,
                  time, place, and scope of an examination or production.
11
                   (b) Motion. A motion for examination under FRBP 2004 must be filed
12                 stating the name, place of residence, and the place of employment of
                   the entity to be examined, if known. The motion must include a
13                 certification of counsel stating whether the required conference was
                   held and the efforts made to obtain an agreeable date, time, place, and
14                 scope of an examination or production. The motion must also explain
                   why the examination cannot proceed under FRBP 7030 or 9014.
15

16 LBR 2004-1(a-b).

17         Bank is a financial institution that had business dealings with Debtor. On August 10, 2023
18 Laila Masud (“Ms. Masud”) of Marshack Hays LLP, counsel for the Trustee, caused a meet and

19 confer letter to be sent to Bank, in an effort to arrange for the production. See, Masud Decl. ¶5. On

20 August 15, 2023, a representative from Bank contacted Ms. Masud and indicated they required a

21 verification of the Debtor’s EIN and did not indicate whether an order or subpoena was required to

22 produce documents. In an abundance of caution and in order to proceed expeditiously, Trustee is

23 requesting an order. Id., at ¶6. The Trustee now files this Motion in an effort to secure all documents

24 requested in Exhibit “1” of this Motion.

25         The examination cannot proceed by formal discovery under FRBP 7030 or FRBP 9014
26 because there are no pending adversary proceedings or contested matters to which the scope of the

27 document production relates to the Trustee. Id., at ¶7.

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 1         D.     Certification Pursuant to LBR 2004-1
 2         Undersigned counsel for the Trustee certifies that on August 10, 2023, prior to filing this
 3 Motion, they attempted to communicate with Bank regarding the time, place, and scope of the

 4 production sought by this Motion, as required by LBR 2004-1. See, Masud Decl. ¶5.

 5 5.      Conclusion
 6         For all of the foregoing reasons, the Trustee respectfully requests that the Court grant this
 7 Motion and order the requested examination. Specifically, Trustee requests that Bank be ordered to

 8 produce the documents identified in Exhibit “1” no later than September 22, 2023, or any other day

 9 mutually agreeable to Respondent and Trustee with two weeks of entry of an order approving this

10 Motion.

11

12   DATED: August 22, 2023                    MARSHACK HAYS LLP
13
                                               By: /s/ Laila Masud
14                                                D. EDWARD HAYS
15                                                LAILA MASUD
                                                  Attorneys for Chapter 11 Trustee
16                                                RICHARD A. MARSHACK

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 1                                   Declaration of Laila Masud
 2         I, LAILA MASUD, say and declare as follows:
 3         1.      I am an individual over 18 years of age and competent to make this Declaration.
 4         2.      I am an attorney at law duly admitted to practice before this Court and all courts of
 5 the State of California. I am a partner with the law firm of Marshack Hays LLP (“Firm”) and

 6 maintain offices at 870 Roosevelt, Irvine, California, 92620.

 7         3.      I make this Declaration in support of the Trustee’s Motion for Examination of U.S.
 8 Bank National Association fka Union Bank (“Bank”), pursuant to Rule 2004 of the Federal Rules of

 9 Bankruptcy Procedure (“Motion”). By this Motion, Trustee seeks the documents identified in the

10 attached Exhibit “1.” To complete its investigation into potential avoidance causes of action, Trustee

11 believes these documents are needed.

12         4.      Capitalized terms not defined in this Declaration shall have the meaning ascribed to
13 them in the Motion. The facts set forth in this Declaration are true of my personal knowledge, and if

14 called upon to do so I could and would competently testify to these facts.

15         5.      On August 10, 2023, I caused my staff to transmit a meet and confer letter regarding
16 FRBP 2004 examination to Bank and six other financial institutions. Attached hereto as Exhibit

17 “2” is a true and correct copy of the meet and confer letter.

18         6.      On August 15, 2023, a representative from Bank contacted me and indicated they
19 required a verification of the Debtor’s EIN and did not indicate whether an order or subpoena was

20 required to produce documents. In an abundance of caution and in order to proceed expeditiously,

21 Trustee is requesting an order. The Trustee now files this Motion in an effort to secure all documents

22 requested in Exhibit “1” of the Motion. Importantly, this Motion is being filed in case production

23 cannot be obtained without a court order.

24         7.      The examination cannot proceed by formal discovery under FRBP 7030 or FRBP
25 9014 because there are no pending adversary proceedings or contested matters to which the scope of

26 the document production relates to the Trustee.

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 1         8.      I believe that examination of Bank under Rule 2004(b) of the Federal Rules of
 2 Bankruptcy Procedure will assist the Trustee in recovering assets of the Estate. Bank is not a party to

 3 this case and is not involved in a contested matter in Debtor’s case.

 4         9.      The purpose of this Motion and the requested examination is to identify and locate
 5 potential Estate assets.

 6         I declare under penalty of perjury that the foregoing is true and correct. Executed on August
 7 22, 2023.
                                                          /s/ Laila Masud
 8                                                        LAILA MASUD
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                                                      EXHIBIT 1
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  1                                               Exhibit 1
  2                    Rule 2004 Examination Definitions and Instructions
  3 A.      Definitions
  4         As used in these Requests, the following terms shall be defined as follows:
  5        1.       “DEBTOR” shall mean and refer to The Litigation Practice Group P.C., the debtor
  6 in Case No. 8:23-bk-10571-SC, a voluntary chapter 7 case currently pending in the United States

  7 Bankruptcy Court for the Central District of California, Central Division.
  8        2.       “BANKRUPTCY CASE” shall mean the Chapter 11 bankruptcy proceeding,
  9 initiated on March 20, 2023, as a Chapter 11 bankruptcy proceeding, Central District of California
 10 Bankruptcy Case No. 8:23-bk-10571-SC.
 11        3.       “YOU,” “YOUR,” and “RESPONDENT” shall mean and refer to the person most
 12 knowledgeable for U.S. Bank National Association fka Union Bank on the subject of the request.
 13        4.       “TRUSTEE” shall mean and refer to Richard A. Marshack, in his capacity as
 14 Chapter 11 trustee of the BANKRUPTCY CASE, and all other persons or agents acting on his

 15 behalf in his capacity as Chapter 7 trustee of this case.
 16        5.       “PETITION DATE” shall refer to March 20, 2023.
 17        6.       “DOCUMENT” or “DOCUMENTS” mean and refer to any written, recorded
 18 (electronically or otherwise), printed, or graphic matter, however produced or reproduced, whether
 19 existing in paper format, as ELECTRONICALLY STORED INFORMATION, or otherwise, of

 20 any kind or description, including originals, copies, non-identical copies, and drafts and both sides
 21 thereof. DOCUMENTS include but are not limited to sound recordings, electronic memoranda,

 22 and files with meta data intact (including e-mail or similar electronic messages or memos and word

 23 processing, database, and spreadsheet files), photographs, ESI (defined below), and all other
 24 tangible things in which words, figures, notations, or sounds are recorded in writing or by any

 25 other means, however denominated, and any such material underlying, supporting, or used in the

 26 preparation thereof.
 27        7.       “RELATING TO” shall have the same meaning as “RELATE,” “REFER,”
 28 “REFERRING TO,” “RELATED TO,” “EVIDENCE,” “EVIDENCING,” and “CONSTITUTE”




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  1 and includes referring to, recording, reflecting, supporting, interpreting, prepared in connection
  2 with, used in preparation for, pertaining to, mentioning, having any relationship to, or being in any

  3 way legally, logically, or factually connected with the matter discussed, in whole or in part.
  4         8.       “COMMUNICATION” means any transmission, relation, or delivery of things,
  5 facts, thoughts or ideas by any means, method, or medium on or by which intelligence or

  6 information can be delivered, transported, recorded, maintained or retrieved, including telephonic
  7 face to face conversation, without limitation, any handwritten, typed, printed, graphic, electric,

  8 magnetic, or illustrative material of any kind or description, including ESI (defined below), drafts

  9 and final versions, originals and reproductions, signed and unsigned versions, however produced
 10 or reproduced, and regardless of whether approved, signed, sent, received, redrafted, prepared by

 11 or for, or in the possession, custody or control of the party to whom this discovery is propounded
 12 or any other PERSON acting or purporting to act on behalf of such party.
 13         9.       “ELECTRONICALLY STORED INFORMATION” or “ESI” shall include,
 14 without limitation, the following:

 15                  a.      Information that is generated, received, processed, and recorded by laptop
 16 computers, desktop computers, microprocessors, all manner of digital recording devices such as
 17 portable cameras and microphones included with smartphones, and other electronic devices;
 18                  b.      Internal or external web sites and servers;
 19                  c.      Text, subject lines, attachments, contacts, appointments, and all information
 20 contained within electronic mail (“e-mail”) accounts, whether those accounts are hosted or

 21 serviced by a third-party provider such as Google’s Gmail, Microsoft Outlook, or Apple Mail;

 22                  d.      Any and all communications, posts, text, images, or video messages posted
 23 on a public-facing social media service such as Facebook, Google+, Twitter, Instagram,

 24 Wordpress, Snapchat, or other social media service, to the extent not protected by federal and state

 25 privacy laws;
 26                  e.      Output resulting from the use of any software program, whether said
 27 electronic data exists in an active file, specifying all files that are accessible and stored in a readily
 28 usable format (e.g., active, online data; near-line data; offline storage; and archives);




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  1                 f.      Activity listings of email receipts and transmittals; and
  2                 g.      All items stored on computer memories, hard disks, solid state drives or
  3 hybrid drives, floppy disks, CD-ROMs, DVD-ROMS, Blu-ray disks, magnetic tape, microfiche,
  4 USB memory sticks, external hard drives, online “cloud” storage hosted by an external service

  5 such as Amazon Web Services, Microsoft OneDrive, iCloud, or a comparable service, the internal

  6 flash memory of a smartphone such as an iPhone or Android device, or on any other media for
  7 digital data storage or transmittal (e.g., a personal digital assistant such as a Blackberry), and file

  8 folder tabs or containers and labels appended or relating to any physical storage device associated

  9 with each original or copy of all Documents requested herein.
 10        10.      “IDENTIFY” shall mean:
 11                 a.      When used in reference to a DOCUMENT, to state the type of
 12 DOCUMENT (e.g., letter, memorandum, telegram, chart, etc.), its author and originator, its date or
 13 dates, all addressees and recipients, and its present location or custodian;
 14                 b.      When used in reference to a natural person, to state the person’s full name,
 15 current residence and business addresses, current residence and business telephone numbers and, if
 16 applicable, his or her title, employment, and job description. If current addresses are unknown,
 17 provide the last known business and residence address; and,
 18                 c.      When used in reference to an entity, to state the name, address, and
 19 telephone number of the entity.
 20 B.      Instructions
 21         1.      Documents Withheld
 22                 If any DOCUMENT is withheld under a claim of privilege or other protection, so as
 23 to aid the Court and the parties hereto to determine the validity of the claim of privilege or other

 24 protection, please provide the following information with respect to any such DOCUMENT:

 25                 a.      The DOCUMENT’S title, if any;
 26                 b.      The full legal name, address, and title of the person(s) who prepared the
 27 DOCUMENT, who signed it, and over whose name it was sent or issued;
 28                 c.      The full legal name, address, and title of each person(s) to whom the




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  1 DOCUMENT was directed;
  2                 d.      The nature and substance of the DOCUMENT with sufficient particularity
  3 to enable the Court and parties to this ACTION to identify the DOCUMENT;
  4                 e.      The date the DOCUMENT was first prepared;
  5                 f.      The full legal name, address, and title of each person(s) who has custody of
  6 or control over the DOCUMENT and each copy thereof;
  7                 g.      The full legal name, address, and title of each person to whom copies of the
  8 DOCUMENT were furnished;

  9                 h.      The number of pages comprising the DOCUMENT;
 10                 i.      The specific legal or factual basis on which any privilege or other protection
 11 is claimed (blanket claims of attorney-client privilege will not be deemed sufficient);
 12                 j.      Whether any non-privileged or non-protected matter is included in the
 13 DOCUMENT, and whether the DOCUMENT can be sufficiently redacted to disclose only non-
 14 privileged or non-protected matter;

 15                 k.      The full legal name, address, and title of each person who has seen or
 16 reviewed or is likely to have seen or reviewed the document; and a description of the subject
 17 matter of the document YOU consider adequate to support the claim of privilege.
 18          2.     Partial Production
 19          Whenever YOU object to a particular request, or portion thereof, YOU must produce all
 20 documents called for which are not subject to that objection. Similarly, wherever a document is not

 21 produced in full, state with particularity the reason or reasons it is not being produced in full, and

 22 describe, to the best of YOUR knowledge, information and belief and with as much particularity as
 23 possible, those portions of the DOCUMENT which are not produced.

 24          3.     Orderly Response
 25          Please produce DOCUMENTS in such manner with specific reference to which
 26 interrogatory, request for production, etc. which the DOCUMENT is responsively produced to.

 27 Please produce all DOCUMENTS as they are kept in the usual course of business, organizing,
 28 naming, and labeling them to correspond with each Request.




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  1          4.     Construction of “And” and “Or”
  2          As used herein, the words “and” and “or” shall be construed both conjunctively and
  3 disjunctively, and each shall include the other wherever such dual construction will serve to bring
  4 within the scope of this request any documents which would otherwise not be brought within its

  5 scope.

  6          5.     Construction of the Singular and Plural Forms
  7          As used herein, the singular form shall include the plural and vice versa whenever such
  8 dual construction will serve to bring within the scope of this request any documents which would

  9 otherwise not be brought within its scope.
 10          6.     Form of Production
 11          YOU are to produce the requested DOCUMENTS for inspection, copying, or
 12 photographing in their original form or legible, accessible electronic reproduction thereof.
 13 DOCUMENTS may be produced electronically at YOUR option.
 14          With regard to electronically-stored information, please produce Microsoft PowerPoint
 15 presentations containing audio, Microsoft Excel documents containing macros, and Microsoft
 16 Access databases in native format. Please produce all other documents produced electronically in
 17 native format with metadata intact or in PDF format with metadata intact. Alternatively,
 18 DOCUMENTS produced electronically may be produced in TIFF format with standard load files,

 19 including .opt image load files and .data metadata load files.
 20          ESI may be provided via CD, DVD, File Transfer Protocol site, portable hard or flash
 21 drive, or other reasonably accessible media format. When practicable, please produce hard copy or

 22 physical documents in scanned OCR’d PDF format with metadata intact or scanned TIFF format
 23 with standard load files, including .opt image load files and .dat metadata load files. Data files

 24 should not be zipped, encrypted, or otherwise restricted or proprietarily protected for specific use.

 25 If the native file format is derived from software not accessible with Microsoft Office applications
 26 (or other common applications), please so state in response to the particular Request.

 27          If the Document or information requested is in a computer-readable form and not produced
 28 in PDF or TIFF format, please specify the software (including the exact versions and release) used




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   1 to create the information. Also specify any other software, hardware, or other information such as
   2 passwords or user-supplied files that are required or desirable in order to examine and use the

   3 information. Specify the exact configuration of the hardware on which the information was
   4 created, including the memory size (and graphics processing unit, if any, in the event the

   5 information contains or requires graphics). Please give the exact name, release, and version of the

   6 operating system used on the hardware.
   7         NOTE: IF YOU ARE UNSURE AS TO THE INTENT AND MEANING OF ANY OF
   8 THE FOREGOING DEFINITIONS OR ANY OF THE FOLLOWING REQUESTS FOR

   9 PRODUCTION, YOU ARE HEREBY REQUESTED TO HAVE YOUR ATTORNEY
  10 CONTACT ATTORNEYS OF RECORD FOR THE PROPOUNDING PARTY, WHO HEREBY

  11 OFFER TO PROVIDE ANY NEEDED ASSISTANCE NECESSARY FOR YOU TO
  12 UNDERSTAND THE INTENT AND MEANING OF ANY OF THE FOREGOING THEREBY
  13 TO ENSURE THAT THE COURT IS NOT BURDENED BY ANY MOTION TO COMPEL
  14 FURTHER RESPONSES TO REQUESTS FOR PRODUCTION BECAUSE OF ANY

  15 UNCERTAINTY OF THE FOREGOING ON YOUR PART.
  16
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  1                           DOCUMENTS REQUIRED TO BE PRODUCED
  2 REQUEST FOR PRODUCTION NO. 1:

  3           All DOCUMENTS, including statements, checks, cleared check images, deposits, wire
  4 transfers, opening and closing statements and cancelled checks, RELATED TO the account ending

  5 in 4874, 4858, 5319, 7570, in the name of THE LITIGATION PRACTICE GROUP, P.C. (EIN 83-

  6 3885343), for the following periods:
  7                   March 1, 2019 through March 31, 2023.
  8 REQUEST FOR PRODUCTION NO. 2:

  9           All DOCUMENTS, including statements, checks, cleared check images, deposits, wire
 10 transfers, and cancelled checks, RELATED TO all accounts, in the name of THE LITIGATION

 11 PRACTICE GROUP, P.C. (EIN XX-XXXXXXX), for the following periods:
 12                   March 1, 2019 through March 31, 2023.
 13
 14 4855-7913-1002, v. 1

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                                                      EXHIBIT 2
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MARSHACK HAYS                                  LLP
        ATTORNEYS AT LAW | LITIGATION | REORGANIZATION | BANKRUPTCY


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Of Counsel
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Matthew W. Grimshaw                                                                          lmasud@marshackhays.com
                                                                                                Reference No. 1015-157


                                                           10 August 2023

                                                                                             VIA U.S. MAIL ONLY

        U.S. Bank National Association           U.S. Bank National Association
        fka Union Bank                           c/o CT Corporation System
        Attn: Officer, A Managing Or General     4400 Easton Commons Way
        Agent, Or To Any Other Agent Authorized Suite 125
        By Appointment Or Law To Receive Service Columbus OH 43219
        22831 Lake Forest Drive
        Lake Forest, CA 92630

                  Re:                 In re The Litigation Practice Group P.C.
                                      Case No. 8:23-bk-10571-SC

        Dear Agent for Service of Process:

               Marshack Hays LLP (“Firm”) represents Richard A. Marshack, the duly appointed
        and acting Chapter 7 Trustee (“Trustee”) for the Bankruptcy Estate (“Estate”) of The
        Litigation Practice Group, P.C. (“Debtor”). The purpose of this letter is to inform you of
        the Trustee’s intent to request certain documents be produced by August 30, 2023,
        pursuant to Rule 2004 of the Federal Rule Bankruptcy Procedure (“FRBP”).

                 Under FRBP 2004, a trustee may conduct an examination of “any entity” provided
        that the scope of the examination must relate to “acts, conduct, or property or to the
        liabilities and financial condition of the debtor, or to any matter which may affect the
        administration of the debtor’s estate or to the debtor’s right to a discharge.” See, Fed. R.
        Bank. P. 2004(b); see also, In re Subpoena Duces Tecum & Ad Testificandum Pursuant
        to Fed. R. Bankr. P. 2004, 461 B.R. 823, 829 (Bankr. C.D. Cal. 2011) (“The scope of a
        2004 examination is ‘unfettered and broad’ and is akin to a ‘fishing expedition.’”).



                                        M A R S H A C K H A Y S LLP | www.marshackhays.com
                                870 Roosevelt | Irvine, CA 92620 | 949.333.7777 | Fax 949.333.7778

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        Prior to prior to filing a motion for examination under FRBP 2004, the moving
party must attempt to meet and confer (in person or telephonically) with you, or your
counsel, to arrange for a mutually agreeable date, time, place, and scope of an
examination or production. See, Local Bankruptcy Rule 2004-1 for the Central District of
California. Specifically, the Trustee requests the following documents be produced no
later than August 30, 2022:

                Account Name: The Litigation Practice Group, P.C. (EIN XX-XXXXXXX)
                Account No. All Accounts, including but not limited to accounts ending in
                4874, 4858, 5319, 7570
               Statements: 03/01/2019 to 03/31/2023
                   o Including all opening and closing statements, cleared check images,
                       deposit detail and wire detail

       To discuss arrangements for the Rule 2004 examination (document production
only), please contact me by the close of business on Thursday, August 17, 2023, by e-
mail at lmasud@marshackhays.com, or on my cell phone at (909) 680-5574. Again, the
Trustee simply seeks documents from your institution to further his investigation into
Debtor’s assets and financial affairs and appreciates in advance your cooperation in this
matter.

                                           Sincerely,



                                           LAILA MASUD

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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620.

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR ORDER
AUTHORIZING PRODUCTION OF DOCUMENTS FROM U.S. BANK NATIONAL ASSOCIATION PURSUANT TO
FEDERAL RULE OF BANKRUPTCY PROCEDURE 2004; MEMORANDUM OF POINTS AND AUTHORITIES; AND
DECLARATION OF LAILA MASUD IN SUPPORT will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On August
22, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On August 22, 2023, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

 DEBTOR                                             INTERESTED PARTY                                    INTERESTED PARTY
 MAIL REDIRECTED TO TRUSTEE                         U.S. BANK NATIONAL                                  U.S. BANK NATIONAL
 THE LITIGATION PRACTICE                            ASSOCIATION fka UNION BANK                          ASSOCIATION
 GROUP P.C.                                         ATTN: OFFICER, A MANAGING OR                        C/O CT CORPORATION SYSTEM,
 17542 17TH ST, SUITE 100                           GENERAL AGENT, OR TO ANY                            AGENT FOR SERVICE
 TUSTIN, CA 92780-1981                              OTHER AGENT AUTHORIZED BY                           330 N BRAND BLVD, STE 700
                                                    APPOINTMENT OR LAW TO                               GLENDALE, CA 91203
                                                    RECEIVE SERVICE OF PROCESS
                                                    22831 LAKE FOREST DRIVE
                                                    LAKE FOREST, CA 92630

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on August 22, 2023, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

VIA PERSONAL DELIVERY:
PRESIDING JUDGE’S COPY
HONORABLE SCOTT C. CLARKSON
UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
RONALD REAGAN FEDERAL BUILDING AND COURTHOUSE
411 WEST FOURTH STREET, SUITE 5130 / COURTROOM 5C
SANTA ANA, CA 92701-4593

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 August 22, 2023                          Layla Buchanan                                         /s/ Layla Buchanan
 Date                                     Printed Name                                           Signature

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     ATTORNEY FOR CREDITOR AFFIRMA, LLC and CREDITOR OXFORD KNOX, LLC: Eric Bensamochan
       eric@eblawfirm.us, G63723@notify.cincompass.com
     ATTORNEY FOR CHAPTER 11 TRUSTEE RICHARD A MARSHACK (TR): Peter W Bowie
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     ATTORNEY FOR CREDITOR SDCO TUSTIN EXECUTIVE CENTER, INC.: Ronald K Brown
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       schristianson@buchalter.com
     INTERESTED PARTY COURTESY NEF: Randall Baldwin Clark rbc@randallbclark.com
     INTERESTED PARTY COURTESY NEF: Leslie A Cohen leslie@lesliecohenlaw.com,
       jaime@lesliecohenlaw.com; clare@lesliecohenlaw.com
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       danninggill@gmail.com; adeleest@ecf.inforuptcy.com
     ATTORNEY FOR INTERESTED PARTY NATIONAL ASSOCIATION OF CONSUMER BANKRUPTCY
       ATTORNEYS and INTERESTED PARTY NATIONAL CONSUMER BANKRUPTCY RIGHTS CENTER: Jenny L
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       jgolden@go2.law, kadele@ecf.courtdrive.com; cbmeeker@gmail.com; lbracken@wgllp.com;
       gestrada@wgllp.com; golden.jeffreyi.b117954@notify.bestcase.com
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       jmartinez@wghlawyers.com; svillegas@wghlawyers.com
     INTERESTED PARTY COURTESY NEF: David M Goodrich dgoodrich@go2.law, kadele@go2.law;
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       cmendoza@marshackhays.com; cmendoza@ecf.courtdrive.com
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        ATTORNEY FOR DEFENDANT CONSUMER LEGAL GROUP, P.C.; DEFENDANT LGS HOLDCO, LLC;
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